     Case: 1:18-cv-03989 Document #: 62 Filed: 06/11/20 Page 1 of 1 PageID #:602

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

John Scatchell
                                       Plaintiff,
v.                                                         Case No.: 1:18−cv−03989
                                                           Honorable John F. Kness
Village of Melrose Park, et al.
                                       Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, June 11, 2020:


         MINUTE entry before the Honorable Jeffrey Cummings: This case has been
referred for discovery supervision and a settlement conference. The District Court has
entered a scheduling order [57] and fact discovery is set to close on 8/14/20. By 7/1/20,
the parties shall file a joint status report setting forth (1) what discovery (both fact and
expert) that remains; (2) whether they have fully resolved their prior dispute surrounding
plaintiff's Rule 30(b)6) notice [58] and, if they have not, provide a statement regarding the
parties' respective positions on the issue; and (3) whether they are interested in scheduling
a settlement conference. If the parties are interested in scheduling a settlement conference,
they should provide the dates in August and September during which they are mutually
available for a remote video settlement conference. Mailed notice (cc, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
